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                   IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA



WARREN HILL, LLC,
                           Plaintiff,                     No. 2:18-01228-HB
v.

SFR EQUITIES, LLC,
                           Defendant.



                                         ORDER

      NOW, on this ___ day of ____________, 2019, upon consideration of Plaintiff Warren

Hill, LLC’s Motion for Summary Judgment, and any response thereto, it is HEREBY

ORDERED that the Motion is GRANTED.



                                        BY THE COURT:



                                        ____________________________
                                                Harvey Bartle III
                                           United States District Judge
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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA



WARREN HILL, LLC,
                              Plaintiff,                       No. 2:18-01228-HB
v.

SFR EQUITIES, LLC,
                              Defendant.

______________________________________________________________________________

    PLAINTIFF WARREN HILL, LLC’S MOTION FOR SUMMARY JUDGMENT
______________________________________________________________________________

       Plaintiff Warren Hill, LLC (“Warren Hill”), through its undersigned counsel, hereby files

this Motion for Summary Judgment. For the reasons set forth in Warren Hill’s Memorandum of

Law, which is incorporated herein, Warren Hill respectfully requests that the Court grant its

Motion and enter judgment in favor of Warren Hill on Counts I and II of its Amended

Complaint.

                                                     Respectfully submitted,

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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA



WARREN HILL, LLC,
                        Plaintiff,                    No. 2:18-01228-HB
v.

SFR EQUITIES, LLC,
                        Defendant.



            PLAINTIFF WARREN HILL, LLC’S MEMORANDUM OF LAW
             IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT



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Dated: April 25, 2019
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       Plaintiff Warren Hill, LLC (“Warren Hill”), through counsel, submits this Memorandum

of Law in Support of its Motion for Summary Judgment. Warren Hill respectfully requests that

the Court grant its Motion.

                               PRELIMINARY STATEMENT

       In 2016, Warren Hill sold its equity interest in Vendor Assistance Program, LLC

(“VAP”) to Defendant SFR Equities, LLC (“SFR”). In addition to certain upfront payments and

other consideration, Warren Hill and SFR agreed that SFR would make additional payments to

Warren Hill relating to (1) VAP’s “Net Income” (which is derived principally from management

fees earned by VAP from managing trusts) and (2) funds defined by the parties as “Reserve

Amounts.” The parties accomplished this via two earnout provisions in a Membership Interest

Purchase Agreement (“MIPA”): Section 1.2(d) embraces the management fees and Section

1.2(e) embraces the Reserve Amounts, including amounts that VAP refers to as “trust certificate

income.” SFR has failed to pay Warren Hill the amounts owed under the parties’ contract.

Warren Hill now moves for summary judgment on four issues:

       First, Warren Hill is entitled to summary judgment because SFR failed to make payments

due under Section 1.2(e).



            VAP profits “because the interest penalty paid by Illinois is higher than the interest

rates charged by the lending banks.” Warren Hill, LLC v. SFR Equities, LLC, 2019 U.S. Dist.

LEXIS 23265, at *4 (E.D. Pa. Feb. 8, 2019) This spread—the difference between payment

penalties and borrowing rates—is captured via management fees and trust certificate income.

       The timing of the release of funds comprising the “Reserve Amounts” such as the trust

certificates depends on a number of factors, including when the State makes payments and when

the trusts pay expenses. Because of this, Warren Hill and SFR did not know when the Reserve


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Amounts would be released. The parties therefore developed Section 1.2(e), which provides a

mechanism for SFR to pay Warren Hill, on a rolling basis, within 5 days of the release of

“Reserve Amounts.” The income tied to trust certificates falls within the plain and ordinary

meaning of Section 1.2(e)(iii) because the trust certificates are “financial instruments” that are

required as a part of the “financing arrangements among VAP and its lenders.” The trusts have

released trust certificate income from the trusts, but SFR did not pay Warren Hill its share.

       SFR contends—much like it did when the Court addressed Section 1.2(d)—that the trust

certificate income does not fall within Section 1.2(e) because the trust certificates were gifted to

Bluestone Capital Markets (“BCM”) in 2017. This argument is unpersuasive. The plain

language of the contract does not support SFR’s position, the monetary value associated with the

certificates was earned by VAP for managing the trusts, and SFR’s interpretation would lead to

the absurd result of SFR retaining 100% of its share of the trust certificate income by virtue of its

ownership in BCM, while Warren Hill would receive nothing. The Court should reject SFR’s

attempt to avoid is plain obligations under Section 1.2(e).

       Second, under Section 1.2(d), this Court has already held that SFR must include all

management fees funneled to the Bluestone entities as part of “Net Income.” Warren Hill is

entitled to judgment on this issue based on the Court’s prior rulings.

       Third, under Section 1.2(d)(ii), SFR is permitted to deduct certain “Expenses” during the

calculation of “Net Income.” Section 1.2(d)(ii)(D) permits SFR to deduct consulting fees paid to

individuals who generate new business leads. However, the MIPA expressly prohibits SFR from

deducting consulting fees relating to “vendors” or “parties” that VAP had “previously

investigated, transacted with or paid any consultant with respect to.” In 2017 and 2018, SFR

took nearly            in deductions for bonuses paid to Brian Hynes, claiming the bonuses




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qualified under Section 1.2(d)(ii)(D). But, the undisputed facts show that the bonuses were tied

to vendors and parties that VAP investigated, transacted with, and/or paid a consultant regarding

long before the MIPA was signed. Therefore, the bonuses are not eligible “Expenses,” and SFR

breached Section 1.2(d) by deducting such amounts.

       Finally, SFR filed a counterclaim against Warren Hill on the grounds that SFR

inadvertently miscalculated the 2017 Section 1.2(d) earnout payment, resulting in SFR

overpaying Warren Hill. SFR contends that when calculating the 1.2(d) payment for 2017, it

forgot to exclude money that had been “allocated” to the Bluestone entities. This, according to

SFR, resulted in SFR using too high a figure for VAP’s “Net Income.” SFR’s claim fails,

however, because the Court already concluded that SFR breached the contract by not including

all of the money allocated to the Bluestone entities as part of its Section 1.2(d) calculation.

Accordingly, SFR underpaid Warren Hill, not the other way around.

                            UNDISPUTED FACTS & ARGUMENT

       “Under Rule 56 of the Federal Rules of Civil Procedure, summary judgment is

appropriate ‘if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.’” Swinson v. City of Phila., 2016 U.S. Dist.

LEXIS 47008, at *5-6 (E.D. Pa. Apr. 7, 2016) (Bartle, J.) “A dispute is genuine if the evidence

is such that a reasonable factfinder could return a verdict for the nonmoving party.” Id. Thus,

“[s]ummary judgment is granted where there is insufficient record evidence for a reasonable

factfinder to find for the nonmovant.” Id. “The mere existence of a scintilla of evidence in

support of the [nonmoving party]’s position will be insufficient; there must be evidence on which

the jury could reasonably find for [that party].” Id. Here, Warren Hill seeks summary judgment

on four separate issues, each of which involves a discrete set of undisputed, material facts. Each

issue is presented below, together with the corresponding undisputed facts.


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I.      MIPA SECTION 1.2(E): SFR MUST INCLUDE TRUST CERTIFICATE
        INCOME IN ITS SECTION 1.2(E) PAYMENTS TO WARREN HILL

        A.      The Parties’ Trust Certificate Dispute (Counts I-II)1

        “[T]he State of Illinois does not pay its bills on time[,]” so “[t]o address its cash flow

deficits and assure that its vendors can be promptly paid for goods supplied or services

rendered,” Illinois created the Vendor Payment Program and the Vendor Support Initiative

(together, the “Program”). Warren Hill, LLC, 2019 U.S. Dist. LEXIS 23265, at *2. The

Program, which is governed by Program Terms promulgated by the state, permits a vendor to

receive most of an invoice’s face value upon assigning the total invoice value (i.e., a

“receivable”) to a type of entity referred to as a “Qualified Purchaser,” with the vendor later

receiving the balance of the invoice’s face value. (Id. at *2-3; see also Ex. 2 Program Terms at

4.) “[T]o become a Qualified Purchaser, an entity must meet certain criteria and be approved by

the state.” Warren Hill, LLC, 2019 U.S. Dist. LEXIS 23265, at *3. VAP is a “Qualified

Purchaser” under the Program. (Id. at *4.) The Bluestone entities “are not recognized by the

State of Illinois as Qualified Purchasers or Sub-Participants in the” Program. (Id. at *7.)

        VAP’s business model is straight-forward. “VAP purchases accounts receivable from the

state’s vendors and borrows money from a bank to do so. The accounts receivable are placed in

one of a number of trusts established by the U.S. National Bank, a bank different from the

lending bank.” (Id. at *4.) As the Qualified Purchaser under the Program, VAP is “designated

as the manager of certain trusts holding the accounts receivable in accordance with management

        1
          In Count I, Warren Hill alleges that SFR breached the MIPA by failing to pay amounts owed to
Warren Hill. In Count II, Warren Hill seeks a declaratory judgment as to the scope and meaning of
Section 1.2(e). Warren Hill did not know the extent to which SFR breached Section 1.2(e) because, as
explained infra, payment of Section 1.2(e) trust certificate amounts is not due annually but, rather, due
within 5 days of when the trust certificate income is released by the trusts. Warren Hill now knows that
substantial amounts of trust certificate income were released from the trusts in 2018 and 2019, but SFR
did not make Section 1.2(e) payments that Warren Hill is owed. Given these breaches by SFR, the Court
can fully resolve the trust certificate issue by granting Warren Hill relief under Counts I and II.


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agreements between VAP and the trusts.” (Id. at *5.) The Bluestone entities are not managers of

any of the trusts, as they are not qualified to participate in the Program. (Id. at *11.)

       As the Court noted, VAP makes money on the spread between the state’s late payment

penalties and the interest rates VAP is able to secure from its lenders. (Id. at *4 (explaining that

fees paid to VAP are made possible “because the interest penalty paid by Illinois is higher than

the interest rates charged by the lending banks”).) The value of this “spread” is captured by two

principal income streams. First, VAP earns management fees for managing the trusts, which

VAP refers to as                          and which can be viewed economically as an advance on

the spread. Second, the remainder resides in financial instruments known as trust certificates,

which VAP refers to as                                                               is all residual cash

remaining in the trust after                                                (Ex. 5, Consol. Fin. at 7.)

       For example, if the State makes a payment to a trust, the trust will use that money to first

pay

                     . (Id.; see also Ex. 3 Reape Dep. at 509:23-511:12.)




                         (Ex. 3 Reape Dep. at 509:23-511:12)



             (Id.)




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        The financial statements explain the difference between these income streams:




Thus, for serving as the “                                                                      ,” VAP

is entitled to                   (management fees), and VAP is entitled to                               .

(Id.) The                             can be significant if the trust is effectively and efficiently

managed by VAP. At one point in 2018, VAP valued the                                     as exceeding

                 (See Ex. 6, at 1 (identifying value of                                      ” as $

                                          ).)

        Section 1.2(d) and Section 1.2(e) of the MIPA—the two earnout provisions—track

VAP’s two income streams and were designed by the parties to capture the entire “spread” for

purposes of calculating what SFR owes to Warren Hill under the MIPA. The Court has already

construed Section 1.2(d), which captures the management fees or “                          ” and requires

that SFR make payments to Warren Hill at set times for each of three years. (Ex. 1, MIPA at §

1.2(d)). Section 1.2(e) addresses “Reserve Amounts,” which are specifically excluded from

Section 1.2(d). (Id. § 1.2(d)(i)(D).) “Reserve Amounts” are defined as follows in Section 1.2(e):




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       Warren Hill contends that the plain terms of the MIPA require SFR to pay Warren Hill

16.623% of the                           pursuant to Section 1.2(e). (See Ex. 1, MIPA §

1.2(e)(iii).) SFR disagrees, and argues that the                         —which is earned by the

operation of VAP’s business as the “                             ” of the trusts, (see Ex. 5, at 7)—

is somehow exempted from Section 1.2(e) because the trust certificates were transferred from

VAP to BCM beginning in 2017, (see D.E. 46, SFR Reply Br. at 4). VAP, which remained the

manager of all trusts,

             Indeed, in the resolutions approving the transfers, VAP’s Board of Managers

(including Gene Harris of SFR) made clear that VAP (1)

                  , (2)                                           trusts, but (3)

                                                        . (Ex. 7, Board Resolutions at 1, ¶ 5.)

       Because “[t]he Bluestone entities have ownership identical to or substantially in common

with VAP,” Warren Hill, LLC, 2019 U.S. Dist. LEXIS 23265, at *6-7, SFR is still receiving its

portion of the trust certificate income. SFR’s attempt to avoid making Section 1.2(e) payments to

Warren Hill based on the uncompensated transfer of trust certificates to BCM is contrary to the

MIPA and exudes bad faith. In any case, the fact that BCM now holds the trust certificates is

irrelevant for purposes of SFR’s obligations under the MIPA because the plain language of

Section 1.2(e) applies without regard to the identity of the holder of the applicable financial

instruments. (Ex. 1, MIPA § 1.2(e)(iii).)

       B.      The Plain Language of Section 1.2(e) Includes the Trust Certificate Income.

       Under Illinois law, “[i]n construing a contract, the primary objective is to give effect to

the intention of the parties.” Thompson v. Gordon, 241 Ill. 2d 428, 441, 948 N.E.2d 39, 47

(2011). “Illinois subscribes to the ‘four corners’ theory of contract interpretation” to determine

the intent of the parties. Chilmark Ptnrs v. Mts, Inc., 2003 U.S. Dist. LEXIS 7077, at *10-11


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304:5-6.) Thus, the financing arrangements among VAP and its lenders are structured around

trusts, which necessarily require financial instruments known as trust certificates.

        Because the trust certificates are financial instruments that are held pursuant to financing

arrangements among VAP and its lenders, the Section 1.2(e)(iii) requirements are satisfied. As a

result, Warren Hill is entitled, under Count II of its Amended Complaint to a declaration that

SFR is required to include all                          as part of its future Section 1.2(e)

payments. Moreover, the undisputed evidence has revealed that                                  has been

released in 2018 and 2019, but SFR did not pay Warren Hill its share within five days, in breach

of Section 1.2(e).4 Accordingly, in addition to SFR’s breach of Section 1.2(d), this Court should

grant judgment in favor of Warren Hill on Count I because SFR also breached Section 1.2(e).

        C.        The Transfer of the Trust Certificates to BCM Is Irrelevant for the Purposes
                  of 1.2(e).

        SFR contends that, because VAP transferred—for no consideration—the trust certificates

to BCM in 2017, the funds captured by the trust certificates no longer constitute “Reserve

Amounts” under Section 1.2(e). SFR’s interpretation of Section 1.2(e) is unreasonable as a

matter of law for numerous reasons.

        First, SFR’s interpretation “add[s] new terms or conditions to which the parties do not

appear to have assented.” Thompson, 241 Ill. 2d at 450, 948 N.E.2d at 51. Section 1.2(e)(iii)

does not require that VAP hold the trust certificates for the trust certificate income to constitute a
        4
            (Ex. 3, Reape Dep., at 398:10-19 (“


                                                                .”); id. at 429:12-20 (“


                                                                                               .”)). See
also id. at 430:15-431:2


                                                            .”).)


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“Reserve Amount.” Section 1.2(e)(iii) captures funds associated with financial instruments that

are held under the terms of “financing arrangement[s]” among VAP and its lenders. As set forth

above, trust certificates are financial instruments and they exist due to VAP’s “financing

arrangements” with its lenders. Under SFR’s interpretation, however, “Reserve Amounts”

would mean “any and all amounts ... held in the form of any financial instrument [of which VAP

is the exclusive holder]” where such funds are required to be so held “pursuant to the terms of

any financing arrangement among VAP and any of its lenders.” The MIPA does not contain the

bracketed language, and thus, SFR is asking this Court to re-write the MIPA to include it.

Therefore, SFR’s interpretation is unreasonable under Thompson; see also Am. States Ins. Co. v.

A.J. Maggio Co., 229 Ill. App. 3d 422, 427, 593 N.E.2d 1083, 1086 (1992) (“A court will not

add another term about which an agreement is silent; no word can be added to or taken from the

agreement to change the plain meaning of the parties as expressed therein.”); Trustmark Ins. Co.

v. Transamerica Occidental Life Ins. Co., 484 F. Supp. 2d 850, 853 (N.D. Ill. 2007) (same); Rush

Presbyterian-St. Lukes Med. Ctr. v. Prudential Ins. Co. of Am., 2004 U.S. Dist. LEXIS 5187, at

*8 (N.D. Ill. Mar. 30, 2004) (same).

       Second, it is well-established that “[a] court will not interpret a contract . . . in a way that

is contrary to the plain and obvious meaning of the language used.” Thompson, 241 Ill. 2d at

442, 948 N.E.2d at 47. Here, Section 1.2(e) provides that “Reserve Amounts” includes “any and

all amounts” held in “any financial instrument” that are so held “pursuant to the terms of any

financing arrangement among VAP and any of its lenders.” It is undisputed that the

                  at issue is held in form of trust certificates (a financial instrument) that exist

due to financing arrangements with the banks who finance VAP’s purchase of receivables. See

Argument Section I.B. supra. It would distort the plain language of Section 1.2(e) to permit SFR




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to withhold and retain any or all of these funds for itself simply because VAP transferred those

trust certificates to BCM, which has identical beneficial ownership to VAP, without VAP

receiving any consideration in return.

       Third, SFR’s interpretation would lead to an absurd result. Under SFR’s interpretation,

Warren Hill is entitled to nothing at all under Section 1.2(e) when the funds in the trust

certificates are released to BCM and BCM’s members, who are identical to the members of

VAP. Thus, under SFR’s interpretation, SFR gets 100% of its proportionate share of the money

derived from the trust certificates and Warren Hill get 0%, simply because VAP transferred the

trust certificates into BCM’s name without receiving any consideration in return. This is not

what the parties intended when drafting Section 1.2(e); rather, as the plain language makes clear,

the parties intended for SFR and Warren Hill to each receive half of SFR’s proportionate share of

the Reserve Amounts. (See Ex. 1, MIPA at § 1.2(e) (providing that Warren Hill would receive

16.623% of the Reserve Amounts, which equates to 50% of SFR’s proportionate share).)

       As this Court previously explained, when there are two competing interpretations, “one

of which is ‘fair, customary, and such as prudent persons would naturally execute, while the

other makes it inequitable, unusual, or such as reasonable persons would not be likely to enter

into,’ the court must construe the contract reasonably to avoid absurd results and adopt the

rational and probable interpretation.” Warren Hill, LLC, 2019 U.S. Dist. LEXIS 23265, at *8-9

(quoting Foxfield Realty, Inc. v. Kubala, 287 Ill. App. 3d 519, 678 N.E.2d 1060, 1063 (Ill. App.

Ct. 1997)). Accordingly, an interpretation that results in one party getting 100% and the other

party getting 0% would be unreasonable and absurd when the plain language clearly evidences

an intent for each party to receive 50% of SFR’s share of the trust certificate income. This is

akin to interpreting the contract to mean that Warren Hill is entitled to its share of the money if it




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is held in SFR’s left hand, but it is not entitled to anything if SFR moves the money to its right

hand.

         Fourth, according to VAP’s audited financial statements,                               , like the

management fees, are earned in VAP’s capacity “

        ”5 (Ex. 5, Consol. Financials at 7.). However, this Court has already found that under

Illinois law, “it is undisputed that the Bluestone entities are not and cannot be managers of any

trusts.” (Op. at 10; see also id. at 9 (“The record is undisputed that VAP is the only manager of

trusts holding the accounts receivable.”)). Therefore, SFR’s contention that BCM, not VAP,

earns the                            simply because VAP transferred the trust certificates into

BCM’s name for no consideration, would violate Illinois law. The Court should reject this

argument as it must “interpret the contract to be in compliance with the law.” Warren Hill, LLC,

2019 U.S. Dist. LEXIS 23265, at *9 (citing Illinois State Police v. Fraternal Order of Police

Troopers Lodge No. 41, 323 Ill. App. 3d 322, 751 N.E.2d 1261, 1266 (Ill. App. Ct. 2001)).

         In sum, SFR’s contention that Section 1.2(e) does not apply to the funds held in trust

certificates because VAP transferred them into the name of BCM without consideration is

unreasonable. It is contrary to the plain language of Section 1.2(e), it adds non-existent clauses

that would fundamentally change the plain meaning of Section 1.2(e), it leads to an absurd result,

and it would violate Illinois law.

         D.      SFR’s Reliance on Risk Retention Regulations Is a Red Herring.

         SFR has attempted to justify the transfer of the trust certificates to BCM based on new

risk retention regulations that were promulgated in response to the 2008 mortgage meltdown and

financial crisis. To be sure, the motives behind the transfers are irrelevant to this Motion because

         5
           The audited financials lump together VAP and the Bluestone entities as a single “Company,”
but refer to                                                                    . (See Ex. 5, Consol. Fin.
at 1.) As the Court has already concluded, VAP is the only manager of the relevant trusts.


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          Under the Rule, the risk retention requirements apply to the sponsors of securitization

transactions. The Rule defines “sponsor” to mean “a person who organizes and initiates a

securitization transaction by selling or transferring assets, either directly or indirectly, including

through an affiliate, to the issuing entity.” 12 C.F.R. § 244.2. The Rule also defines the terms

“majority-owned affiliate” (id.) and “wholly-owned affiliate” (id.) and provides that, under

various circumstances, a sponsor may satisfy its risk retention obligations by having the risk held

by a majority-owned affiliate (or a wholly-owned affiliate) rather than by the sponsor itself. See,

e.g., 12 C.F.R. §§ 244.3, 244.4.

          As stated in various risk retention agreements produced by SFR in this case, VAP and its

lender, Barclay’s, determined that b

                          .” (See Ex. 12, Risk Retention Agreement at 1 (Recitals)). Therefore,

each of

                 . As explained supra, the Rule permitted VAP, as a sponsor, to satisfy its risk

retention obligations by having its affiliate, BCM, hold the subject risk. However, the Rule did

not require VAP to transfer the trust certificates to BCM. At various times,



               (See, e.g., SFR’s Statement of Undisputed Facts in Support of its Motion for Partial

Summary Judgement at ¶ 20 (stating “



                    ” (emphasis added)); Def.’s Mot. Partial. Summ. J., Declaration of Brian Hynes

at 2 (stating same); Ex. 3, Reape Dep. at 207-208                                       ); id. at 349

(discussing same).)




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        The Rule was promulgated to ensure that risk is retained by a sponsor (or the sponsor’s

permitted affiliate). The Rule did not require that the trust certificates be transferred from VAP,

as SFR has seemed to imply while attempting to justify the transfer of the trust certificates from

VAP to BCM without consideration. In any event, that the Rule permitted the transfer of the trust

certificates in no way alters the fact that the trust certificates fall squarely within the terms of

Section 1.2(e). Warren Hill’s entitlement to payment under Section 1.2(e) is in no way

diminished by the secretive creation of BCM or the transfer of trust certificates.

II.     MIPA SECTION 1.2(D): THE COURT SHOULD ENTER JUDGMENT FOR
        WARREN HILL BECAUSE SFR EXCLUDED MONEY ALLOCATED TO THE
        BLUESTONE ENTITIES FROM THE SECTION 1.2(D) EARNOUT.

        Warren Hill is entitled to summary judgment because SFR improperly excluded fees that

were earned by VAP from “Net Income” when calculating the amount it owed Warren Hill under

Section 1.2(d). It is undisputed that SFR did not include fees that were earned by VAP, and later

funneled to the Bluestone entities, in the calculation of “Net Income” when paying Warren Hill’s

earn-out payments under Section 1.2(d). See Warren Hill, LLC, 2019 U.S. Dist. LEXIS 23265,

at *1. This Court has already held that “§ 1.2(d) of the MIPA does not allow defendant to

exclude the fees VAP pays to the Bluestone entities from the Net Income due to plaintiff.” Id. at

*12-13. The Court concluded that SFR’s argument that “the Bluestone entities, rather than VAP,

‘earned’ the management fees at issue” was “without merit.” Id. at *11. Accordingly, to the

extent the Court has not already done so, Warren Hill respectfully requests that this Court enter

judgment in its favor on Count I because it is undisputed that SFR breached Section 1.2(d).

III.    SECTION 1.2(D)(ii): THE COURT SHOULD ENTER JUDGMENT FOR
        WARREN HILL BECAUSE SFR TOOK INELGIBLE EXPENSE DEDUCTIONS
        WHEN CALCULATING THE SECTION 1.2(D) EARNOUT IN 2017 AND 2018.

        Warren Hill next seeks summary judgment under Section 1.2(d)(ii)(D), a provision that

permits SFR to deduct certain “consulting fees” as an allowable “Expense.” SFR took


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deductions under Section 1.2(d)(ii)(D) in both 2017 and 2018, claiming that bonuses paid to

Brian Hynes fell within the provision. Section 1.2(d)(ii)(D) applies only to “consulting fees”

paid for new business leads, subject to conditions specified in the provision, but, SFR itself

admits that the bonuses paid to Mr. Hynes related to vendors and entities that VAP was already

investigating or doing business with long before Warren Hill sold its interest in VAP to SFR.

The bonuses are therefore not eligible to be deducted as “Expenses.” By deducting the bonuses

as expenses in 2017 and 2018, SFR breached Section 1.2(d).

       The plain language of the MIPA “specifies that the only sums defendant may subtract

[from Revenue] are what the MIPA defines as VAP’s ‘Expenses’.” Warren Hill, LLC, 2019 U.S.

Dist. LEXIS 23265, at *11. The MIPA lists four categories of “Expenses,” only one of which is

material here, Section 1.2(d)(ii)(D).

       Section 1.2(d)(ii)(D) provides that SFR can deduct from the earn-out payments, “any

consulting fees paid to any member of VAP or any third party in exchange for introducing any

new business opportunity to VAP,” provided that such new business opportunities exclude any

business opportunity “involving any vendor, payee, program, or party which VAP had

previously investigated, transacted with or paid any consultant with respect to” (emphasis

added). In other words, the plain language of this provision permits a deduction for consulting

fees paid for introducing new business to VAP, except where that allegedly new business

involved an entity that VAP previously had sought to do, or did do, business with.

       In calculating the earnout payment for 2017 and 2018, SFR deducted close to

in bonus payments made to Brian Hynes. (Exs. 13-14 (SFR’s earnout calculations).) SFR

contends that the bonuses were properly deducted pursuant to Section 1.2(d)(ii)(D) because it

was a “bonus that was paid or payable to Brian Hynes under the bonus plan” as a “result of a




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new business opportunity.” (Doc. 60, at 8.) The plain unambiguous language of Section

1.2(d)(ii)(D), however, prohibits SFR from deducting this “bonus” because the vendors and

parties that Mr. Hynes allegedly investigated/worked with in 2017 and 2018 had been

investigated and transacted with long before the MIPA was signed.6

        SFR contends that the alleged “new business opportunities” justifying the Hynes bonuses

involve Blue Cross Blue Shield (“BCBS”),7 United Health, and Bank of America (“BoA”).

(Doc. 60, at 8.). Yet, the record evidence is undisputed that all of these entities constitute a

“vendor” or “party” that VAP had “previously investigated, transacted with or paid any

consultant with respect to.” Therefore, when SFR took a deduction for the Hynes bonuses, it

breached Section 1.2(d)(ii)(D).

        Indeed, David Reape testified that VAP personnel, Drew Delaney and Brian Hynes, were

“                                                                                          ” and that

“                                                              .” (Ex. 3, Reape Dep., at 245:1-8

(emphasis added).) Mr. Reape repeatedly testified that

                                             . (See, e.g., id. at 254:22-255:5 (“




        6
          To be clear, Warren Hill does not take issue with Mr. Hynes receiving the bonuses—even
though the bonuses are suspicious given Mr. Hynes’ inability to articulate
          (Ex. 4, Hynes Dep. at 77). That is an issue for VAP and its board of managers to address. The
issue here is that such bonuses are not eligible to be deducted by SFR as “Expenses” under the express
terms of the MIPA. VAP may, at its discretion, pay bonuses. But, SFR cannot skirt the plain and
unambiguous terms of the MIPA by deducting such bonuses as alleged “Expenses” under Section 1.2(d)
to reduce the amount of money it must pay to Warren Hill.
        7
         The legal name for Blue Cross Blue Shield of Illinois is “Health Care Services Corporation.”
The parties regularly refer to this entity as BCBS, and for consistency and clarity, Warren Hill likewise
does so herein.


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               .”); id. at 268:17-20

                                                                                          .”); see

also Ex. 18, WH103-104 (                                                   ).)

       In addition to previously “investigating” BCBS and BoA, it is undisputed that VAP had

previously “transacted with” both BCBS and BoA. Mr. Reape testified, and internal documents

confirm, that VAP engaged in a transaction involving both BCBS and BoA in December of

2015. (See Ex. 3, Reape Dep., at 258:22-259:1 (“Q



             ; id. at 263:17-22




                       ”); see Ex. 10-11.) VAP and BoA entered another financing arrangement

                 , just prior to the parties executing the MIPA. (See Ex. 11.)

       Finally, this “bonus” is not deductible from the earnout payment under Section

1.2(d)(ii)(D) because the record is also undisputed that VAP had previously “paid a[] consultant

with respect to” BCBS and BoA. Mr. Reape testified that Brian Hynes has



                     (Ex. 3, Reape Dep., at 267:7-24.) Mr. Reape further testified that



            . (See id. at 268:11-16 (“



                                                               .”); id. at 268:24-269:4




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                 .”)).

       In sum, the bonuses paid to Brian Hynes in 2017 and 2018 are not deductible under the

plain and unambiguous meaning of Section 1.2(d)(ii)(D) because the undisputed record evidence

shows that VAP had previously “investigated,” “transacted with,” and “paid a[] consultant with

respect to” the vendors and parties associated with the Hynes bonus payments that SFR

improperly deducted for 2017 and 2018. Accordingly, this Court must enter judgment in favor

of Warren Hill on Count I because the undisputed evidence shows SFR breached Section

1.2(d)(ii)(D).

IV.    SFR’S COUNTERCLAIM: THIS COURT SHOULD GRANT JUDGMENT IN
       FAVOR OF WARREN HILL ON SFR’S COUNTERCLAIM.

       SFR asserts a counterclaim against Warren Hill, alleging that it overpaid Warren Hill

$83,115 in the 2017 earn-out payment because it included $500,000 in “VAP’s revenues that

were not earned and received by VAP,” but rather were “earned” by the Bluestone entities.

(Doc. 60, p.9.) In other words, SFR contends that it inadvertently included VAP fees that were

funneled to Bluestone when calculating “Revenue” in Section 1.2(d). This theory fails as a

matter of law because this Court has already rejected SFR’s argument “that the Bluestone

entities, rather than VAP, ‘earned’ the management fees at issue.” Warren Hill, LLC, 2019 U.S.

Dist. LEXIS 23265, at *11. Accordingly, SFR’s counterclaim fails as a matter of law and this

Court should grant judgment in favor of Warren Hill.




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                                        CONCLUSION

       For these reasons, Warren Hill respectfully requests that this Court grant its Motion.

                                                     Respectfully submitted,

                                                     /s/ Gregory S. Voshell
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Dated: April 25, 2019                                Counsel for Plaintiff Warren Hill, LLC




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that, on this date, I have caused a true and correct copy

of the forgoing to be served upon each attorney of record via electronic mail, the Court’s ECF

system, and U.S. mail.




                                                 /s/ Gregory S. Voshell
                                                 GREGORY S. VOSHELL


Dated: April 25, 2019
